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       PROOF OF SERVICE OF:

        Temporary Restraining Order

On May 10, 2022 This Court authorized alternative service in this case where
Plaintiff was granted leave to complete service by either (1) email or (2) website
publication. Plaintiff may have misunderstood that service should be by both
email and website, and therefore took extra efforts to make sure that both were
modes (email and publication) were accomplished. This is particularly because
Plaintiff is concerned that some emails might be unreliable, or for some reason
might not reach a particular Defendant.

Accordingly on May 27, 2022, Plaintiff confirmed that each of the Defendants has been sent
an email with the Motion for Temporary Restraining Order and Order to Show Cause why
a Preliminay Restraining Order should Not Issue. Accordingly the TRO Order and the Order
to Show Cause were provided to all Defendants and that also website publication were
served by that duplicated means.

Accordingly, it is hereby declared under penalty of perjury that under my supervision the
Temporary Restraining Order, granted by this Court on May 18, 2022 have been served by
email and website publication on all Defendants in this matter. In addition, Plaintiff has
emailed notice to Defendants that the Court has scheduled a hearing on the Order to Show
Cause as to the Preliminary Injunction. The hearing is scheduled for May 31, 2022

May 27, 2022                              /s/Patricia Ray _____
                                          211 Yacht Club Way Apt

                                          138 Redondo Beach Ca 90277

                                          Email:raypatricia@yahoo.com




Text of email service by email to each Defendant (with website publication):

On March 3, 2022, in the United States District Court for the Western District of
Pennsylvania, Chanqi Liu filed a Complaint for Damages and Injunctive Relief.
The filings and orders in this matter are available to view or download below.
You may also find these documents posted on the following website:
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https://dnriplaws.com/bulletin-board

NOTICE TO DEFENDANTS



If you fail to respond to this Complaint, judgment by default may be entered
against you for the relief demanded in the Complaint.



To prevent this from happening you must file a response with the Court Clerk
within twenty-one (21) days of the date the Summons and Complaint were
served upon you. Your response must be in the proper form and have proof of
service upon the plaintiff’s attorney



Patricia Ray

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